             IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE
AMERICAN ALLIANCE FOR EQUAL RIGHTS,
                           Plaintiff,
v.

MCDONALD’S CORPORATION;              No. 3:25-cv-50
MCDONALD’S USA, LLC; and
INTERNATIONAL SCHOLARSHIP & TUITION
SERVICES, INC.,
                         Defendants.

  EMERGENCY MOTION FOR A TEMPORARY RESTRAINING
       ORDER AND A PRELIMINARY INJUNCTION
      (RELIEF REQUESTED BY JANUARY 31, 2025)
      Plaintiff moves for a TRO and preliminary injunction, enjoining Defendants

from “closing the application window or picking a winner” for the HACER program

“until further order of this Court.” AAER v. Fearless Fund, 2023 WL 6520763, at *1

(11th Cir. Sept. 30). HACER likely violates 42 U.S.C. §1981 because it’s a contractual

contest that bars non-Hispanics based on ethnicity. And without temporary relief,

Defendants would close the application window in February 2025 and pick winners in

June 2025—well before this case could be litigated to final judgment. That result would

irreparably harm current high-school seniors, like the Alliance’s Member A, who are

able and ready to apply to HACER but can’t because they aren’t Hispanic.

      As explained in the accompanying memorandum, the Alliance satisfies each

requirement for temporary relief. Because time is of the essence and the loser will likely




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need some time to seek emergency relief from the Sixth Circuit, the Alliance respectfully

asks this Court to rule by January 31, 2025.

      The Alliance also asks this Court to waive the security requirement of Rule 65(c).

Dated: January 12, 2025                         Respectfully submitted,

                                                /s/ Cameron T. Norris
Adam K. Mortara                                 Thomas R. McCarthy*
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                                   Counsel for Plaintiff




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                          CERTIFICATE OF SERVICE
      I certify that, on January 13, 2025, Plaintiffs’ counsel will deliver via process

server a copy of the foregoing motion, memorandum in support, and supporting

exhibits (including the verified complaint) to Defendants at the following addresses:

      ● Prentice Hall Corporation (Registered Agent for McDonald’s Corporation),
        801 Adlai Stevenson Dr., Springfield, IL 62703-4261

      ● Illinois Corporation Service Company (Registered Agent for McDonald’s
        USA, LLC), 801 Adlai Stevenson Dr., Springfield, IL 62703-4261

      ● Rebecca Sharpe, Registered Agent for ISTS, 40 Burton Hills Blvd., Ste. 170,
        Nashville, TN 37215

      On January 12, 2025, Plaintiffs’ counsel also sent these documents to Defendants

by emailing the following:

      ● Desiree Ralls-Morrison, General Counsel of McDonald’s, desiree.ralls-
        morrison@us.mcd.com

      ● Angela Steele, U.S. General Counsel of McDonald’s,
        angela.steele@us.mcd.com

      ● Becky Sharpe, CEO of ISTS, bsharpe@applyists.com

      ● ISTS, technology@applyists.com & contactus@applyists.com

Dated: January 12, 2025                              _/s/ Cameron T. Norris_____
                                                     Counsel for Plaintiff




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